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                                IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF GEORGIA
                                          ATLANTA DIVISION

             UNITED STATES OF AMERICA              :
                                                   :      CRIMINAL ACTION
                         v.                        :
                                                   :      NO. 1:10-CR-86-11-RWS-ECS
             EDWIN MENJIVAR                        :
                                                   :

                                     REPORT AND RECOMMENDATION
                                 OF UNITED STATES MAGISTRATE JUDGE

                                                I.
                               The Pending Motions Before the Court

                  This   matter    is   before   the    Court   on    Defendant     Menjivar’s

             preliminary      motion    to   dismiss,    [368];      motion   for    bill   of

             particulars, [366]; motion to suppress evidence, [389]; and motion

             to suppress statements, [390].

                                                II.
                                 The Preliminary Motion to Dismiss

                  In the preliminary motion to dismiss the indictment, Defendant

             moves to dismiss for failure to provide a speedy trial under the

             Sixth Amendment and the Speedy Trial Act.               Defendant alleges pre-

             indictment and post-indictment delay and cites Barker v. Wingo, 407

             U.S. 514 (1972).     Other than alleging that certain of the acts with

             which Defendant is charged occurred on or about October 31, 2007,

             and February 28, 2008, the motion is devoid of specifics as to the

             balancing of factors under Barker.         Indeed, Defendant requests that




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             he be allowed to supplement his motion but has failed to do so since

             it was filed in September of 2010.

                   There is nothing to suggest that the indictment was not brought

             within the applicable statute of limitations.                   See United States v.

             Weinstein,    762    F.2d     1522,     1452    (11th   Cir.     1985)    (statute       of

             limitations       provides        primary   protection        against    prosecutorial

             delay).    Likewise, there are no facts presented showing that any

             delay between the date of the indictment on February 24, 2010, and

             the present was in violation of the Constitution or the terms of the

             Speedy    Trial     Act,     18    U.S.C.   §    3161    et     seq.      Under    these

             circumstances,      no     particularized       facts       having     been    stated   to

             establish a colorable claim to a violation of the Constitution or

             the Speedy Trial Act, based upon pre- or post-indictment delay, IT

             IS RECOMMENDED that the motion, [368], be DENIED.

                                                   III.
                                      Motion for Bill of Particulars

                   In Defendant’s motion for bill of particulars, [366], Defendant

             requests that the government provide Defendant with two categories

             of   information.          First,     Defendant      requests    the     names    of    all

             unindicted    co-conspirators          known    to    the    grand     jury.      Second,

             Defendant seeks information relating to Count 21 in which Defendant

             is charged with aiding and abetting the use of a firearm in the

             commission of a crime of violence.                Defendant requests that he be


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             advised of additional facts regarding what he is alleged to have

             done and how he was aided or abetted by another in the use of the

             weapon on October 31, 2007. See Def’s Request at 2-3, [Doc. 366].

                    At   the    outset,       Defendant’s        request,     insofar   as   it    seeks

             disclosure        of    the     identity   of       unindicted      co-conspirators,     is

             unnecessary because this information is already required to be

             disclosed by the Court’s standing Order in this case.                                As for

             particulars related to Count 21, the same is hereby GRANTED, but

             only   to   the        extent    that   the   government       is    ORDERED    to   direct

             Defendant to the places in the discovery where the essential facts

             relating to Defendant’s involvement in Count 21 are disclosed,

             within ten (10) days of entry of this Order.                     If the essential facts

             are not disclosed in the discovery, then the government is DIRECTED

             to provide this information in the form of a bill of particulars to

             the Defendant stating what the government contends the essential

             facts are relating to this Count, also within ten (10) days of entry

             of this Order.

                                                IV.
                          The Motion to Suppress Evidence and Statements

             A. Background and Contentions

                    Defendant filed a motion to suppress search and seizure, [389],

             and a motion to suppress statements, [390]. The motion to suppress

             evidence seeks to suppress evidence seized on February 28, 2008, at


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             Defendant’s residence at 1120 Forest Vale, Apartment 4, Norcross,

             Georgia. The items seized included a .38 caliber pistol, ammunition

             for the pistol, a box of shotgun ammunition, certain papers and

             documents, and Defendant’s cell phone.        In the motion to suppress

             statements, [390], Defendant initially sought to suppress statements

             made on February 28, 2008, and on December 8, 2009.            As for the

             statements made on February 28, 2008, Defendant now concedes any

             such statements were non-custodial and do not warrant suppression.

             Def’s Post-Hearing Brief at 11, [554].           As for the motion to

             suppress the seizure of the cell phone, the government acknowledges

             that it will not introduce any evidence in its case in chief related

             to the seizure of the cell phone.       Gov’t Response at 11 n.1, [561].

                  With regard to the seizure of the pistol, ammunition, and

             personal papers and writings, Defendant argues that the officers who

             seized the property lacked both a warrant and probable cause for the

             seizures.   As for applicability of the “plain view doctrine” to

             justify the seizure, Defendant argues that the incriminating nature

             of the items seized were not immediately apparent, even if the

             officers were lawfully in a place where they were entitled to view

             the items, and thus the seizure was unwarranted. Def’s Post-Hearing

             Brief at 14.

                  The government responds that the search of the apartment was

             conducted pursuant to a valid consent.          The government further

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             contends that, shortly after the consent was obtained, Defendant

             disclosed that a .38 revolver was located in one of the bedrooms of

             the apartment between the mattresses, which the government seized

             immediately.         The government contends that, even if there was no

             probable cause to seize the weapon as contraband or evidence, its

             seizure was justified to protect the officers temporarily while they

             were in the apartment questioning the occupants.                     Gov’t Response at

             8.   The government submits that, thereafter, once the Defendant’s

             illegal immigration status was ascertained, the officers developed

             probable cause to seize and retain the pistol and the ammunition as

             evidence of a violation of the alien in possession of a firearm

             statute under which the Defendant was charged and arrested on the

             scene. Id.; see 18 U.S.C. § 922(g)(5).

                  Defendant also made a statement on December 8, 2009, to agents

             of the Immigration and Customs Service (“ICE”) while in state

             custody   in    the    process     of   being     arrested     on    federal   charges.

             Defendant was administered Miranda1 warnings in connection with this

             statement      and    signed   a   waiver       before    he   gave    his   statement.

             Defendant      contends    that     the     waiver       and   the    statement    were

             involuntary because he was not specifically advised that he would be




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                       Miranda v. Arizona, 384 U.S. 436 (1966).

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             questioned regarding his involvement in gang activities.               Def’s

             Post-Hearing Brief at 19.

                    The motions to suppress came on for evidentiary hearing on May

             17, 2011, and a transcript of the hearing has now been prepared.

             [553].    The motions have now been fully briefed and are ripe for

             consideration by the Court.

             B. Factual Background Surrounding the Search and Seizure on February
                28, 2008, and the Statement of December 8, 2009.

                    On February 28, 2008, Agent Jason Tyler with ICE, along with

             ICE officer Ledgerwood and officers with the Gwinnett County Police

             Department gang task force, including Sergeant Eric Osterberg,

             approached 1120 Forest Vale, Apartment 4, at about eight o’clock in

             the evening for a “knock and talk.”       [7, 26].    Defendant answered

             the door and allowed the agents and police officers to enter.          [27,

             45].     Two other males were inside.      [13, 27-28].     Shortly after

             entry, Agent Tyler asked the occupants twice for permission to

             search the apartment.    [30].   All three replied in the affirmative.

             [30].    Agent Tyler also advised them that they had the option to

             refuse to permit the search.     [30].

                    After having obtained permission to search, Agent Tyler further

             asked Defendant if there was anything illegal in the apartment and

             Defendant disclosed that there was a .38 caliber pistol in the back

             bedroom between the mattresses.      [30-31].   Sergeant Osterberg went


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             to the back bedroom and seized the pistol.              [12, 31].    Defendant

             said that the pistol belonged to another guy who was not in the

             apartment at that time.           [32].     The officers also found some

             ammunition and several drawings depicting gang paraphernalia, names

             and drawings. [12, 33].       Agent Tyler also asked Defendant about his

             involvement with the gang known as MS-13 and seized Defendant’s cell

             phone.     [34, 51-52].    The search of the apartment lasted about 20

             minutes.     [23, 33].    During this time, none of the occupants was

             restrained, nor were they given Miranda warnings. [33-34].

                     After speaking with the occupants and completing the search,

             Agent Tyler made the decision to determine the alienage of the three

             individuals    in   the   apartment.       [35].     Through   questioning    he

             determined that all three individuals were illegally in the country.

             [35].      At that point, fingerprint identification equipment was

             brought in before the three were taken into custody.                [35].    The

             fingerprint identification revealed that Defendant had a pending

             order of removal; his brother Emerson, who was also present, was a

             previously deported aliens; and the third individual, Mr. Rivas,

             although illegal, did not have any previous removal history.                [36].

             All three were taken into custody at this time and were then taken

             to the Atlanta Detention Center.          [36].    Agents Osterberg and Tyler

             estimated the total time in the apartment at 1 and ½ hours,

             including    the    immigration   processing.        [21,   23,   36].      Tyler

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             testified that it took 45 minutes to set up the fingerprint system.

             [37].      Thereafter,     Defendant     was   removed   and    deported      to   El

             Salvador.     [36, 37].

                     On December 8, 2009, Defendant was arrested again for illegal

             re-entry after deportation and was interviewed by Agents Tyler and

             Ledgerwood at the Gwinnett Precinct where Defendant was being held

             at the time.       ICE Agents Tyler and Ledgerwood were there to pick

             Defendant up on an arrest warrant for federal charges.                [38].    They

             interviewed him.      [38].   At the outset, Agent Tyler read Defendant

             his Miranda rights, which he waved by signing a written form.                 [40].

             See also Exhibit 4.       This was done in Spanish by Agent Tyler.            [39].

             Neither    Agent   Tyler   nor   Agent    Ledgerwood     made   any   threats      or

             promises in order to induce Defendant to make a statement.                    [83].

             In the interview, Defendant was asked about his involvement with MS-

             13, as well as his illegal re-entry. [56, 85-86].

             C. Discussion

                     1. The February 28, 2008, Search and Seizure

                     As a preliminary matter, the Court concludes that Defendant and

             the other two occupants voluntarily consented to the entry of the

             officers and the search of the apartment.            The evidence shows that

             Defendant assented to the officers’ entry and that neither of the

             other two occupants objected. None of the circumstances surrounding

             the officers’ entry indicates lack of consent or mere acquiescence

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             to a claim of lawful authority.      See United States v. Rios, Nos. 10-

             11822, 10-12420, 2011 WL 4912074 at *4 (11th Cir. Oct. 17, 2011).

             As for the consent to search, Agent Tyler asked twice for consent,

             twice obtained an affirmative response, and specifically advised the

             occupants that they had the right to decline to consent to search.

             Id.   As a factual matter, there is no evidence that Defendant did

             not voluntarily disclose the existence and whereabouts of the .38

             caliber pistol that was seized from between the mattresses in the

             back bedroom. Indeed, Defendant concedes that he was not in custody

             at the time he made this disclosure.       Def’s Post-Hearing Brief at

             11.

                   While the Court acknowledges that the pistol was not seized in

             plain view and that its incriminating character as evidence of crime

             or as contraband was not immediately apparent when the pistol was

             seized, the officers nonetheless were justified in seizing it at the

             outset and holding it, at least temporarily, until they finished

             searching the apartment and questioning its occupants. In that

             regard, the undersigned concurs with the sentiments expressed in

             United States v. Malachesen, 597 F.2d 1232, 1234-35 (8th Cir. 1979):

                   Although the incriminating nature of the handgun may not
                   have been immediately apparent to the investigating
                   officers, its temporary seizure, unloading, and retention
                   by a responsible officer (here the inventory officer)
                   seems a reasonable precaution to assure the safety of all
                   persons on the premises during the search.      A loaded,
                   cocked handgun poses a threat to anyone within its range

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                  of fire. Moreover, temporary seizure undercuts the chance
                  of mishap[,] the accidental discharge of the handgun
                  through mishandling by someone on the premises, or even
                  its intentional use by [Defendant]’s roommate or a cohort.
                  Common sense dictates that the weapon should be unloaded
                  and, at least temporarily, kept in a safe place.

                  In Malachesen, the weapon was temporarily seized in plain view

             but without its incriminating nature being immediately apparent.

             Thereafter, when the officers learned of Malachesen’s prior felony

             conviction, “the temporarily-seized handgun became contraband and

             subject to seizure as an illegal weapon possessed by a felon.” Id.

             at 1235.   The same factual scenario is presented here.

                  While the seizure of the weapon in this case was not premised

             upon the plain view exception to the warrant requirement, the

             officers   nevertheless   became   aware   of   the   weapon   lawfully   by

             voluntary disclosure by Defendant.         They were also possessed of

             consent to search the apartment, and there is no evidence the scope

             of the consent would not have included looking under the mattresses.

             Here, as in Malachesen, after the Defendant’s illegal status was

             determined, the gun was likewise legally subject to seizure as

             contraband, evidence of the offense of illegal possession of a

             firearm.   See United States v. Patel, No. 2:08-CR-210-WKW, 2010 WL

             742983 *4 (M.D. Ala. Feb. 26, 2010) (seizure of firearm justified by

             later-discovered evidence of illegal immigration status).




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                  Defendant argues that the officers did not contend that they

             felt their safety was of concern, pointing to the fact that the

             three occupants were not handcuffed or restrained and were allowed

             to   move   around   the    apartment     freely    during     the   search   and

             questioning, up until they were arrested for immigration offenses.

             But these facts make it all the more prudent that any dangerous

             weapons, such as a pistol, should be seized temporarily and made

             safe while the officers were conducting their business, especially

             where the subject of the investigation was a violent street gang.

             Numerous cases under the plain view doctrine have recognized that

             “objects    dangerous      in   themselves,”       such   as    handguns,     may

             constitutionally be seized, at least temporarily.              See Coolidge v.

             New Hampshire, 403 U.S. 443, 472 (1971) (suggesting that the plain

             view doctrine permits warrantless seizure of “objects dangerous in

             themselves”); United States v. Atchley, 474 F.3d 840, 850 (6th Cir.

             2007)(citing Coolidge, 403 U.S. at 472); United States v. Robinson,

             756 F.2d 56, 60 (8th Cir. 19985)(citing Malachesen, 597 F.2d at

             1232); Patel, 2010 WL 742983 *4 (citing Malachesen).

                  Based upon the above authority and findings, the undersigned

             concludes that Defendant’s Fourth Amendment rights were not violated

             when Officer Osterberg seized the pistol from under the mattress and

             held it while the occupants were questioned and it was determined

             that the occupants were illegal aliens chargeable with being aliens

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             illegally in possession of a firearm or ammunition under 18 U.S.C.

             § 922(g)(5).      Once this status was determined and Defendants were

             arrested, then the pistol and ammunition were properly seizable as

             evidence or contraband.         See, e.g., Patel, 2010 WL 742983 at *5.

                  On the other hand, while the government has defended the

             seizure of the pistol and ammunition, the government has made no

             effort to justify the seizure of any personal papers or drawings

             that may have been taken away from the premises.              No probable cause

             has been shown to have existed for any such seizures, nor has the

             government argued that the incriminating nature of any of these

             items was immediately apparent.             Under these circumstances, the

             motion to suppress should be GRANTED as to any other property seized

             and taken by the officers on February 28, 2008.2

                  2. Defendant’s Statement Made on December 8, 2009

                  As noted above, Defendant argues that his waiver of his Miranda

             rights and his statement made thereafter at the Gwinnett County

             Police    Precinct    on   December   8,    2009,   were    not   knowing   and/or

             voluntary.      Specifically, Defendant contends that his waiver of his

             rights    was   not   knowing   because     Agent   Tyler    “failed   to   advise

             [Defendant] that he was actually pursuing a federal investigation of



                   2
                   The government, as stated above, has already coonceded that
             the cell phone taken by Agent Tyler will not be sought to be
             introduced at trial. See Gov’t Response Brief at 11 n.1.

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             the violent activities of MS-13.”        Def’s Post-Hearing Brief at 19.

             In that regard, Defendant cites Carter v. Garrison, 656 F.2d 68 (4th

             Cir. 1981), for the proposition that, while police have no duty as

             a part of Miranda warnings to inform a suspect of the crime they are

             investigating,   the   suspect’s   ignorance     of   the   subject   of   the

             interrogation should become part of the court’s evaluation of the

             total circumstances of the waiver.        Id. at 19-20.     Defendant cites

             no Eleventh Circuit or Supreme Court authority on the point.

                  Under   Miranda   v.   Arizona,     384   U.S.   436   (1966),   before

             questioning a suspect in custody, law enforcement must inform the

             suspect that he has the right to remain silent, that his statements

             may be used against him at trial, that he has a right to an attorney

             during questioning, and that, if he cannot afford an attorney, one

             will be appointed for him.      Miranda, 384 U.S. at 467-74.          Miranda

             rights may be waived, however, id. at 475; but, even if Miranda

             warnings are given, evidence that is coerced must be excluded.

             Colorado v. Connelly, 479 U.S. 157, 167 (1986) (dictum).

                  In general, the government must prove that the defendant

             voluntarily, knowingly, and intelligently waived his or her Miranda

             rights.   Miranda, 384 U.S. at 475.

                  The inquiry [into waiver] has two distinct dimensions.
                  First, the relinquishment of the right must have been
                  voluntary in the sense that it was the product of a free
                  and deliberate choice rather than intimidation, coercion,
                  or deception. Second, the waiver must have been made with

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                    a full awareness of both the nature of the right being
                    abandoned and the consequences of the decision to abandon
                    it.

             Moran v.    Burbine, 475 U.S. 412, 421 (1986).

                    Similarly, the voluntariness of a confession must be assessed

             under the totality of the circumstances, considering such factors as

             the defendant’s intelligence, the length of detention, the nature of

             the interrogation, and the use of any physical force against the

             defendant.     Schneckloth v. Bustamonte, 412 U.S. 218, 226 (1973)

             (citations omitted). The inquiry focuses on whether the defendant’s

             free    will   was   overborne   by   any   improper   influence    of   law

             enforcement.    Colorado v. Connelly, 479 U.S. 157, 170 (1986).          See

             also United States v. Gonzalez, 71 F.3d 819, 828 (11th Cir. 1996)

             (holding that in the context of voluntariness of consent to search,

             “the absence of official coercion is a sine qua non of effective

             consent”) (citations omitted).        “[A] confession induced by threats

             or promises is not voluntary.”         United States. v. Vera, 701 F.2d

             1349, 1364 (11th Cir. 1983) (citing Bram v. United States, 168 U.S.

             532, 542 (1897)).

                    Moreover, the fact that law enforcement agents are required to

             give Miranda warnings to defendants is not necessarily sufficient in

             all circumstances to ensure the voluntariness of a confession and

             therefore the voluntariness inquiry does not stop there.           Dickerson

             v. United States, 530 U.S. 428, 444 (2000) (overruling 18 U.S.C.

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             § 3501 because the long-standing precedent of Miranda affords

             greater protection of a suspect’s rights).              Nevertheless, “[c]ases

             in    which   a    defendant    can    make    a   colorable   argument    that   a

             self-incriminating statement was ‘compelled’ despite the fact that

             the law enforcement authorities adhered to the dictates of Miranda

             are rare.”    Id. (quoting Berkemer v. McCarty, 468 U.S. 420, 433 n.20

             (1984)).

                    The present case is not a case where Defendant’s waiver of his

             Miranda rights was invalid, nor is it one of the rare cases where

             his   statement      was    compelled    despite    compliance    with    Miranda.

             Defendant was interviewed, without handcuffs, at the Gwinnett Police

             Precinct by Agents Tyler and Ledgerwood.               [42].     No weapons were

             displayed.        [42].    The interview lasted approximately 30 minutes.

             [44].    Defendant was read his Miranda rights in Spanish and he was

             also provided a written copy of his rights to read.                 [39-40, 82].

             He signed a written waiver.             [40, 81]; See Ex. 3, 4.      He did not

             appear to be under the influence of any drugs or medication that

             would impair his understanding and it appeared to the agents that he

             understood his rights.         [43].     No threats or promises were made to

             induce him to waive his rights or to speak.              [42-43, 83].      Nothing

             in the totality of the circumstances supports a finding that the

             waiver was not knowing, intelligent and voluntary or that the

             subsequent statement was in any way coerced.

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                     The fact that the agents failed to inform Defendant that he was

             under    investigation         for   gang-related   federal      crimes    does    not

             undermine the validity of the waiver or the statement in this case.

             As the Court stated in Moran v. Burbine, 475 U.S. 412, 422 (1986):

             “[W]e have never read the Constitution to require that the police

             supply a suspect with a flow of information to help him calibrate

             his self-interest in deciding whether to speak or stand by his

             rights.”      See also Colorado v. Spring, 479 U.S. 564, 577 (1987)

             (holding that “a suspect’s awareness of all the possible subjects of

             questioning     in     advance       of   interrogation   is     not    relevant    to

             determining         whether    the    suspect    voluntarily,     knowingly,       and

             intelligently waived his Fifth Amendment privilege”); United States

             v. Barner, 572 F.3d 1239, 1244 (11th Cir. 2009) (waiver valid

             despite Defendant’s claim he was not fully advised of the crime

             about which he would be questioned).                Here, as in Spring, “the

             additional information could affect only the wisdom of a Miranda

             waiver, not its essentially voluntary and knowing nature.” 479 U.S.

             at 577.

                     In   sum,     the     undersigned    concludes    that    the     waiver    of

             Defendant’s Miranda rights was knowing, intelligent, and voluntary,

             and that his statement was not coerced or involuntary.                        IT IS

             RECOMMENDED therefore, that the motion to suppress the December 8,

             2009, statement be DENIED.

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                                               V.
                                   Summary of Recommendations

                  In summary, the undersigned RECOMMENDS that the preliminary

             motion to dismiss, [368], be DENIED; that the motion for bill of

             particulars, [366], be GRANTED in part, with DIRECTION; and that the

             motions to suppress evidence, [389], and statements, [390], be

             DENIED, except as to any documents and other property seized on

             February 28, 2008, exclusive of the pistol and ammunition.

                  It appearing that there are no further pretrial or discovery

             matters to bring before the undersigned, it is therefore ORDERED

             that this DEFENDANTS be and is hereby CERTIFIED as ready for trial.3


                  SO REPORTED AND RECOMMENDED, this 29th day of November, 2011.


                                                        s/ E. Clayton Scofield
                                                      E. CLAYTON SCOFIELD III
                                                      UNITED STATES MAGISTRATE JUDGE




                   3
                    This Court observes that this defendant have been indicted
             with additional defendants and that matters pertaining to such co-
             defendants are still pending. Pursuant to 18 U.S.C. §3161
             (h)(7)(B)(ii) (the Speedy Trial Act), the time for commencing the
             trial of these defendants may be stayed until such time as all
             defendants have been certified ready for trial. Hence, it is not
             necessary to place the above-named defendant’s case on the calendar
             for trial at this time.

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